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                                                                           United States Bankruptcy Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                                                                              December 22, 2021
                                                                               Nathan Ochsner, Clerk
                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           VICTORIA DIVISION

   In re:                                    §
                                             §     Chapter 11 (Subchapter V)
   SCOTT VINCENT VAN DYKE                    §
                                             §     Case No.: 21-60052
                 Debtor.                     §


              ORDER GRANTING EMERGENCY MOTION
      TO COMPEL PRODUCTION OF DOCUMENTS AND DEPOSITIONS
                                  [Relates to Docket No. 103]
      Upon consideration of the Emergency Motion to Compel Production of Documents

and Depositions (the “Motion”) filed by Eva Engelhart, as Chapter 7 Trustee for the

Estate of Anglo-Dutch Petroleum International, Inc., (“Engelhart”), and any responses

filed in connection with the Motion, and all arguments of counsel at the hearing on the

Motion (the “Hearing”), if any; and the Court having jurisdiction over this matter

pursuant to 28 U.S.C. § 1334; and the Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2) and that the Court may enter a final order consistent

with Article III of the United States Constitution; and the Court having found that venue

of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and after due deliberation and for the reasons stated on the record at the

Hearing, it is HEREBY ORDERED THAT:

      1.     The Motion is Granted.

      2.     Debtor shall produce the documents listed in Exhibits 1 through 6 of the

Motion by December 29, 2021.
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      3.     The depositions of Ms. Frances Barber-Buchanan and Mr. Harry

McMahon, III must be completed by January 14, 2022.

      4.     Unless otherwise agreed in writing between the parties, Mr. Scott Van Dyke

shall appear for deposition at the offices of Hagans Montgomery Hagans on January

12, 2022, at 9:30 a.m.


             August 02,
             December 22,2019
                          2021
